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             EXHIBIT F
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Honorable Colleen McMahon
United States District Judge
Southern District of New York

Dear Judge Colleen McMahon,


I am writing this letter in support of my younger brother Freedom Turner, whom I was raised
with, along with another sibling in a two-bedroom apartment in the South Bronx. Freedom is
hardworking and dedicated to things that he loves. He’s a fast learner, and very creative. There
have been many instances where I’ve seen these qualities – he was always looking to help my
father out, whether it was cleaning the house or helping with his little sister. We grew up in a
home with two parents who showed us the importance of structure, stability, love, hard work,
and commitment.

Over the course of some years, when Freedom was around eleven or twelve years old, our
happy home was broken up, and our parents split. Shortly after, our mother was pronounced
terminally ill with Stage Five cancer and given a short time to live. She had always been the
glue which kept together the order and structure we knew at home. This pain we witnessed our
mother endure through those last few years battling cancer and then the loss of our mother
caused much distress in all our lives, but I believe it affected Freedom’s life most significantly
because he was the youngest of all her children. We all went through dark times for a long
while, and made choices and decisions out of impulses that I don’t believe any of us would have
normally made. I believe my mother passing away was the main reason Freedom began to act
out. He’s always been a quiet person, but after we lost her, he didn’t talk to anyone, especially
about the things he was feeling and experiencing. My father worked a lot of hours, which I think
was a method to escape everything that was going on with Freedom and with his family.

Before his initial lockup, Freedom lived with my father and I in the North Bronx, which was a
fairly tough neighborhood with a lot of gang activity. We had to figure out how to make the best
decisions for ourselves there. Even growing up in that tough neighborhood, Freedom has
always had a great ability to be himself and show a softer side than most kids in our community
usually show. My father for as long as I can remember has always held a job, if not two, and
supported his family, friends, and neighbors. He has always pushed me, as the oldest, and my
siblings to work hard for the things we want. He told us not to look for any handouts or try to “get
it the fast way.” He has always set great examples and pushed his children to do positive things
in attempts to better our situations, to encourage us to grow and mature.

After he came home from being incarcerated the first time, I got to see a more positive side to
Freedom. He was actively looking for work, striving to stay off the streets, and staying away
from the gang activity around the neighborhood. I saw a lot of maturity in him. He showed a lot
of dedication to finding a job and putting himself out there to provide a better future for himself.
When Freedom was home, he was able to retain a job at UPS and was also an up-and-coming
artist, making music and keeping away from negative situations. I think Freedom was making a
lot of the right decisions and was on the right path to being a model citizen. Going forward,
Freedom has a great support system with people pushing him in the right direction to make
positive impacts on his life and others. I believe he plans to live with our father again, but no
matter where he is, my father and I will be there to support him and push him. I work full time at
an advertising agency and I would definitely recommend Freedom to any position that I hear
about. His father can do the same; we will make sure that he’s sticking to the right path.
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Freedom was locked up pretty soon after his son was born and even when he was out, his son
lived out of state. However, Freedom and his son’s mother made a lot of efforts to meet up and
ensure that Freedom was actively in his son’s life – not just talking to him, but also seeing each
other in person. Freedom was trying to make the right decisions so he could put himself in a
better position to take care of his family, especially his son. Growing up in a household with his
father present, he’s seen how a father should be there for a child and what a good example of a
father looks like. Freedom’s son is a huge motivator for him to be better in the future – I think
that drives him more than anything else.

We want to get Freedom home as soon as possible so he can re-establish himself in the
workforce, get back to his newborn baby and family, and continue creating great music. I’ve
never been locked up, but I’ve heard all types of horrible stories about his time in jail. The
sooner Freedom comes home, the sooner we can get back to ensuring that Freedom is doing
all the things he needs to do to be better.

Thank you for your time, Judge. I hope our testimonies bear a bit more insight into who
Freedom Turner truly is, convey some of the struggles we’ve faced as a family, and help
express that no single situation we find ourselves in determines the final outcome of our
character.


Sincerely,

Gregory Leonard
